Case 3:17-cv-00603-WHB-LRA Document1 Filed 07/19/17 Page 1of7

IW THE UNITED STATES DISTRICT COuRT

SOUTHERN DISTRICT OF MISSI
are oF SSIPPI

JUL 19 2011

ARTHUR JOHNSTON

FOR THE SOUTHERN DISTRIGT OF MIE SissiP ei
SACKSON, MS, DIVISION
x ERTIFICATE of Seavice om PAGE Tor) #

BY. DEPUTY

Umireo States ex rel, Russéec K, Hiew Prarie

v Aeron No. S11 00 StHIB-LR A

[Seay Tatas Demanoeo]

Prec Beyaur ( Goveener oF Mssissieei )y And De FENDAMTCS.)

_Cuastopnce 8. Epps Cfoamee Mississieri Cpatetro Ns Commissioner),

AnD f. Hite Gunn CM (5S 18 SIPFI SPEAKBROF THE Houss of Reprcsentarweg ,ANO

THE House oF REPRESENTATIVES FOR Wité Stare oF Mississs pet, AnD THE

M ississcepy Srate SENATE, And Reaawe Kine (SueeaintenoaAnt OF Caren:
Mississirer Conaccrion fk Facsertry(“CMe ey And WARDEN Banks (Warden
OF C MCE) Awd Fevicia Hau  Mxcresie Conagcnons bonmesoaee saan
Wieesam Wax, JR. C Cner Juste of Tw Mississiees Supreme Court)
and Ameacan Correetioaan Association A/K/A “ACA” any Mamac=
ment TRawing Corporation A/I K/A “MTC” ano Cokacerionn Lone-
oration oF America AVK/A “CCA ine Unnown Memsees or ACA

JURISDICTION

The Disreer C OvRT HAS EXPLiciT TURISDieTioM TO HEAR TAIS UMSER Upurea Srares

Cove Aunorarep, SIUSCA S$ 3I2XI 5 315.04 £3730@ Ano Cb)

) Juperar Notice . Foe ruavoses of FI US CA$37200b An £3730AXDC) rus

ACTION 1S INITIATED AND BROUGHT im THE Name oF THE Government on THE Huren STATES, ANd kes

EXR~f of 35 lor ll
Case 3:17-cv-00603-WHB-LRA Document1 Filed 07/19/17 Page 2 of 7

es r
TONSMERED BROUGHT FOR PURPSSES OF THE PERSON ( Russéu K, Mie) AND THE Umi rea S Tares Government

WHE vet AA COLTIZEA-PAISOHER DELIVERED THE ComPLAINT To THE INSTITURONAL LEGAL MAIL SYSTEM AT

CALCF, WA fasson Mare Box Rue, U.S. Cousr. Isc Aneus.

2) Disraner Court Fine fee Exemeriom. Tue CASE HEREIN 18 MoT Suaséet TOA MERIT AETERMiul~

ATION 6M BEHALF OF Hire (wae Ar TAS Time 1s WDIGENT) NTH gue Feotan Goverment REFusEs TO PROSEA-

ule THE CASE, 737306) STATES, a THE Government [SHAui]-~

(A) PROCEES WITh THE ACTION, iN WaIcH CASE THe Action [SHALL] BE CoMdUETED BY THE Goveanment s OR

(RB) NOTIFY THE Cowal Tear iTpecemes] To TAKE OVER THE ACTiIow iN WHICH CASE THE PERSON BRINGING

The Action [SHALL] MAVE THE RiGHT To Conduct THE ACTION:

Ar TMIS TIME Mra QUANFS FoR AN EXEMPTION UMDER S/IM , because Mire iS INDIG-
&
Ent Awd ¢3 730 DEMAMOS THAT THE Ac tian aan] BE BROUGH IW THE MAME OF THE GovERNm-
y ii i _ : r
ENT, ‘Ais IND SeuTABLE CONGRESSWONae DECKARATION digarRy Savers THE LonGReccionad INTENT THAT
THE PERSON us" RES POMS jeLTY FOR PROSBCUTING THE ACTION (3 APPURTENANT TO THAT OF THE Fewenat

Govern MENT ~~ AS IT SHOURD ee 4es3 7 20(b) a nike) Suen A PREFERENTIAL RULE REQUIRES THAT

THe C Ovat RECIEVE GovERNMENTAL EVIDENCE BEFORE REciRVING THAT OF THE PRIVATE PARTY, AND

\ & 1 a
§3730 MAKES NO MENTION OF FILING THE SUIT”, Gut ONLY MENTIONS BRIAGING TAE SULT OR Action —And

THE A&TION iS BROUGHT BY A hro-se frisonen LiPOM MALLING THE CompLAinT, (cmenexs és PRESUMED

To Know THE LAW, $3 70H) ( B)

Aso, tHe GovFanmenvS STATUTORY PROBABLE CAUSE REVIEW WNbER $ 3730, FRUMPS THE

Reaures PEUSCA FIIISA merit SCREENING, AnD THE FAUTABLE PLEADING STANAARDS SPECIRALY
SET UP IN $3730 CA) pratiait DismessAr oF THE Action BY ANY OTHER Means PRIA To A GOVERNMENT
Reseowse. Juas cyearyousr He is& pasenee THE PLRA 15 IMAPPLACARLE UNL BSS THE COVERM M-

ENT Décsmes To PRose@ eure THE ACTION (: J 3730 Cb) C 1)(6)): Any OTHER CoMSTRUCTION WouLd CE

AN UNAEASONED Distimetion THAT DENIES INDIGENT PRISONERS THE SAME OPPORTUNITIES TA OPEM And

EXKR<3 A oF If
Case 3:17-cv-00603-WHB-LRA Document1 Filed 07/19/17 Page 3 of 7

FQURK Abeess TO THE COURTS» COmMARE Mayer a Ci Ty OF Ciueage, YOY U.$, 189 C971X., indiGeur

Must AAVE THE SAME OPPORTUMITIES To ANvOKE THE DISCRETION OF THE FOUAT AS THOSE WiHO EAN AFFORD

rae cost. U5, Conse, 14 cite)

4
Guee loncpess estagusued THE “SMPETY vaLuE” ANd “SAVING excause “UNDER $3 7300b) on
BEHALF 0 THE PERSON BRINGING THE AETiUN AND THE Unirea S TATES G oveanmenT TAHBSE SAFEGUARDS
MAUST BE KEPT FREE OF UN REASON [Ed] DisTicTions THAT CAN OMLY ImPFoE GPE AN® E@UmL ACCESS To
THE COURTS, COMPARE {1 AYER , SUPRA , U0 AT a (Once STATES HAVE ESTABLISHED AVENUES OF AppEie~
ATE ReynzW, THESE AVEXUES Must BE KEPT FREE OF UNREASCHED NEST INE TION THAT CAN (MPEIE OPEN

han ww
AND EQUAL ACRESS TO THE Higa SEE Arceavx B

FA-!
§3 730(61) A PERSOM MAY BRING A @1V/L ACTION FOR A VIOLATION OF Leevion

sya G FOR TAE PERSON AND FOR THE Unurer Saves Oivieumeinrs Tae Aeron SAH Ate
BE [ie ouéat) (MN TRE MAME OF THE Goveen ment, [Ze Action MAY BE AtSimss Ei (ony)

(fF THE CoURT [Amd] THE Arreane ¥y Gevenar Give WAIT TEN Consent TO THE DiSmuissAd

AND THEIR REASONS FOR EOMSEN rms.)

jus MNAPP LCA Buty OF THE LRA AND THE APPURTEMANCE OR SY LZLOGISTIC NATURE CF PROSEC-
UTIOIN REQWRE A REDUK TO PRE-FLRA CA ANTECEDART PRACTICES WHERE THE Count HAD OISCRET-
(ON TO GRANT EXEMPTIONS TO PRISONERS FILING IN FOAMA PAUPERS , BEtAasE LFP enses ARE Prot
Rams FUNDED BY OR FRom Tubicane APPROPRIATIONS ) ALSO, IN THIS IHMSTANCE, Hue iS An IMDIVIDUAL ivto
és ATTEMPT (WG Te PROVIDE A SEQWiCE AUTHORIZED BY THE Quasi-cRinunae huase Craims Ae T, Ju.
x CAS 3754; SEE J iiesen “Us Dive Enron cement A omens TRATION , 4% F 3d U8,

43 CDC. Ce, 4007) (ca: Pon ro tue PLRA, FEDERAL touts dousd EXEMPT tH oigeuT

PRISONERS FROM PAYING FILING ree.)
. ae
fuetnee, $ 37204) dDeceanes TaAT, LF THe Goveedment Paoceedy WiTA Tie
AtTiOn ) 1T SHALL HAVE THE/PRINARY| RESPONSIBILATY FoR PROESEG@UTING THE ACTION AND

u
[stace wot @& @0uNg) BY AN ACT OF THE PERSON BRINGING TAE ACTION, SO1T CALY MAKES SESE

EMR=S Zor U
Case 3:17-cv-00603-WHB-LRA Document1 Filed 07/19/17 Page 4 of 7

TWAT, util Tie GovBRM MENT DECLINES TO PROSECUTE TAR ACTION , THE PERSON BRINGING THE ACTION,
SHoueds Nor Be Bound By AN AET OF THE GOVERNMENT (THE ACTION, Orivy, THEA CAN) Ti PERSON
REUEVE PROPER CONSIDERATIONS OF HIS/HER Ci fim «

Even vf TAR Covat 45 Mot CONVINCED THAT AN EXEMPTION FROM PAYING THE Filing FEE
At rie FTJ#ResHord 1s PREVALENT) £3730 Ch)CO PROHIBITS JAT THE THRESHOLD, ANY INQM~
“RY BevoN® OBULS.C A. $ (AISA) | PROR Ted RESPONSE FROMTHE Fenerne GoyFRXMENT, as
ANY FURTHER INQUIRY WOULD Amount To A “ORTRIMENTAL RELIANCE” ON g3 73004)1) THAT
RESULTED /N THE PUNISHMENT OF TAKING, OR INVOLUNTARY SERVITUDE LPO A PERSON C2 LN THIS

INSTANCE 7A STAICT LEAR MLUETY ENAAACEMEAT IMPaseh GAGA A EONYICTED PERSON:

J
Aisazcces OF Pxceesnanert

Pane Brvanr CGeveenon) fC HRISTOPRER B, Eves Pranese Gunn E Me ; SPeaKen OF THE
PO, Box 134 Ab RESS Unt cma gues A Hoese &F Repacsn TA rives) Am: 3O0b
JACKS On , Ms, 21408 THIS TIME LOBSX 1018

sackson, Ms, 37015 -/018

Mi ssisswe Mouse or Reeaesenrarives Micssissifer Stare Semare

fost Oreie Box 1018 fost Ores Box 10S
Taenson,Ms, 39915 - 1018 Jackson, Ms. 39915-1018
Ronni King CSueconieensnecr) Warden Sans Petia Aare
CoM. CE CML, Corrcerions Comrarss.owen
PO, Bow ESSSO 2.0, Box 58550 633 Al Stare Sreeer
Pearz M5, 34388 Penar Ms. 39388 Jackson MS, 39a0x

pene 4OFU
Case 3:17-cv-00603-WHB-LRA Document1 Filed 07/19/17 Page 5 of 7

Wiercam Warcen, Se. ACA

Gas Jusrice ) Sure 900

Mississreps Supreme Covat 206 N, Wasmweron Sr,
P.O,80x 944 ALEXANDRIA, Va. O531Y

Jaewson, Ms, 39505 -0349

MANAGEMENT JRAWME Corp. (M Te) C veAwetionan, Core OF A wenven (CO A)
eae Counser) (Avoness UN RNOwNW A TALS Tame
500 Norte Maawer Dawe

Cenrervate, tran S40

CLAIM

Ais, THE Deter nie HEREIN ARE BELIEVED Te BE MEMBERS OF A ix Tine
CAnnuwas ENTERPRISE FO STAGNATE THE Back /oour ation tn Shississinpi FOR REASONS
RELATED TO Genocure AND TO mAtAin Ware Voter Sreewere in Mississiper oR Waite
owen ( one MANY vores ), Tue asi FoR Wane Voter Staéwern SCHEME 15 & RACKET
WITH VARIOUS PREDICATE ACTS WHICH INCLUDE THE Gr Aim HERE THAT “Tas AROVE Deren OANTS
Kew oR sNoated Have KNowN Tar Carstornen B. Eves was THe [OX uo fresibent oF THE
A CA, as RECOGNIZED BY THE Mississiper LeGiSeATuRE On FEARURY /4, 5043+ We rite BY
AM OVERY ACT OR WILEULK BLimdness ro THE Act TBAT Epps tabreRmussiicy WORE ‘Two MATS :
iM THE CREDITATION PROCESS , W/HKRE DOCUMENTS AND REPORTS WERE SUBMITTED TO THE Fen-
BRAa GOVERAMENT FoR APPROVAL OF FEDERAL Fuubds Fon VARtoUS PROGRAMS,

Epes AS A (Ars PRESIDENT, INSPECTED MiSs Owa STATE AND REGIONAL FACILITIES AMD THEN
SUBMENTED FALSE REPORTS AMD FALSE A4Aims to RELIVE BENERIFTS (A EXCESS OF 7/0, 000
ANAUALLY UNDER Fepenat PROGRAMS PROVIDING FEDERAL ASSIS TAace 70 TAE /hssissiper

Deraarmenr OF CORRECTION 5 CN" Doe, Tne DEveuD ANTS HAD Fule ixoow/ AEbGE

EXRS Bor il
Case 3:17-cv-00603-WHB-LRA Document1 Filed 07/19/17 Page 6 of 7

OF THE donseimacy ay Epes And rie ACA ro berraub Tue Feseeare Government BY

SUBMITTING FAase REPORTS AND FALSE CLAMMS FOR APRROVAL IN VIOAATION OF SITUS,
CA. 93759 CFacse Crass Act),
Ine: THING OF VALUE HERE IS FEDERAL Fundstng, ro ware Cops ALREADY PLEALED

Guary To msappamPRiating, see Unres States v Cuarsroueer B. Eres, 344 -ce-Ufl

CSD, NWiss Filed 0/5/14) Hue Fiamay Asserts THAT EVEeY Derennanr Add OTHER MeEm-
BERS OF TRE CCE Conseiney with Epps ANO THE ACA ro Derraun rae Aeacem Goveanment
BY SUBM ermine FALsE REPGATS AND FALSE CzAims TOC ACQUIRE FEBeRAL funos,A5 WeLL AS, Hon -
EST Seevices Frauo ,e re, eT¢, Ain: DEFENDANTS NAD RAOWLEDGE OF THE Wrongs BEMG DONE, THEN
AND NOW, AND Continue TO Ald AWS ABET THE CCE HWA VING PEWeR Te PREVENT OR AID in PREVEWT-
ING TRE COMMISION OF THE 3AME, NEGLECT RR REFUSE SO WD AO, Avid) THEREFURE ARE CULPARLE Aud
bABue MERE FoR tonspaacy To DEFRAUD THE Feacean Government
As CLAIMED Inf Kusstve K Ay Us Surerimtenvant Konan Kune, 33 l7-cv-§

CS Dd. Miss) And Jn re Kasséic. Ke Mus, Ne. 17 -60098 (Sm Cir), since SEPTEMB~

Ea 13, Q0l6 J dave BEEN HOUSED IN A BULDIG WHERE, [el CAMERA, THE Ferern. Mau. Box and
INSTETUTIONAL MAIL BOXES ARE UNSeeuncdD (No Loews), (M WiocArioM OF THE Fourth Amenam =

ENT RIGHT TO PRIVACY CoM CERNING SEMSATIVE Documenrs: Commare ih, Cw A, 5.2 Now ~

EVER 0A) 2 ABovTt a/b /17 A CA JA SPECTORS (Ome oF wae was A Warden OF A Whs ses siopi
Pens rentimey) ANd Deuty Whaanen SHevey WALKED THROUGH THE BUILAING DORING A INSPECTION,
NEGLECTING To Sétuae THE FedeAAL AND TW STHTUTIONAL Man 8B OvES,

Mies REQUEST IMMEDIATE SUSPENSION OF FEBERAL Finb ines te MD.OC, J EMSPECTION BY Feberad

OFFIeUaLs OF Ade Pssissipet Faison AAD UNSPELEFIED Moniz tary Damages in AcceRbAncE W/TH

ReSpecttully Submined

$3730 suwedines, hare Y/44e 2) (> BP USGAGI 746
4 . pirubt 4)
SWORM AND SUBSCRIBES BEFORE ME THLE DAY OF A fas ug or € MISS/g >
: ee PUBL 4
& LS, x Ate aah
( 4 ss ppEnRLSEY” i
% (dun, (ous gasign 8
EXKR~6 OTARY 1 Eman. Oe

Ee vwncennite ‘D
Sor | "aii ES
Case 3:17-cv-00603-WHB-LRA Document1 Filed 07/19/17 Page 7 of 7

CERTIFICATE OF SERVICE

This is to certify that I, the undersigned, have this date as reflected below, caused to be
mailed, via United States Postal Service, postage pre-paid, by placing a true and correct copy of

the foregoing pleading and/or instrument in the United States mail addressed to the following

person(s):

Sree Session o LS. Arropruzy ben,

950 PENMSYL VANE Ave. NW

Wasmweton, D.C, JOS20 Wasameron, DC, AOSOO

a On GAL ‘
Saran Huckaace SAadeRs e 7 US, Distarer Cova
Neat
1600 Pswusyvaua Ave. NW POBox A355%
WAsuineToN | D.C, 2000 Jackson, Ms, 39005
Signed this the 5 Yih day of A PRL . AOL?
Signature ard
L350b

MDOC Number

CMF CAeF Bila, /8-2-ne)

P.0,BOx BBSEO
Address

Feanl MMs, 39388 - F550
Address

EXR-7 oF 35 4 OF it
